
672 S.E.2d 543 (2008)
STATE of North Carolina
v.
Lawrence Donnell FLOOD.
No. 16A09.
Supreme Court of North Carolina.
January 12, 2008.
Anne M. Gomez, Assistant Appellate Defender, Staples Hughes, Appellate Defender, for Flood.
Robert C. Montgomery, Special Deputy Attorney General, Robert F. Johnson, District Attorney, for State of NC, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 7th day of January 2009 in this matter for a Writ of Certiorari Regarding Removal of Trial Attorney in Capital Case to review the order of the Superior Court, Alamance County, the following order was entered and is hereby certified to the Superior Court of that County:
"Defendant's Emergency Petition for Writ of Certiorari is allowed for the limited purpose of remanding this case to the trial court with instructions for the trial court to hold an ex parte hearing on defendant's motion to remove his counsel. Robert C. Collins. By order of the Court in conference, this the 12th day of January 2008."
